Case 8:17-CV-00608-.]LS-KES Document 36 Filed 11/13/17 Page 1 of 3 Page |D #:254

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Attorney for Defendant Timothy Glen Curry

8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT 0F CALIFORNIA
10 CHRIS PRINCIPE, Case No: 8:17-cv-00608
11 Plaintiff,
12 DECLARATION oF WESLEY
VS' GARNER IN SUPPORT 0F
13 TIMOTHY GLEN CURRY A/K/A DEFENDANT TIMOTHY GLEN
TIMoTHY TAYSHUN, cURRY’s 0PPOSIT10N To
14 PLAINTIFF’S MOTION FOR
15 D°f°“da”*~ PRELIMINARY INJUNCTION
16 DATE: December 1, 2017
TIME: 2:30 p.m.
17 cTRM: 10 A
18
Hon. Josephine L. Staton
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______________._L.__._______-_-s
DECLARATION OF WESLEY GARNER IN SU PI’OR OF DEFENDANT T!MOTHY GLEN CURRY’
OPPOSITION TO PLAINITFF’S MOTlON FOR PRELIMINARY INJUNCTION

 

 

 

Case 51

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17-cv-00608-.]LS-KES Document 36 Filed 11/13/17 Page 2 of 3 Page |D #:255

DECLARATION OF WESLEY GARNER

I, Wesley Garner, declare:

I am a resident of the city of London in the United Kingdom and am over
the age of 18. The facts stated in this declaration are within my personal
knowledge, except those stated to be on information and belief, and, if called upon,
I could and would competently testify to them.

l. I was a member of Onecoin for a few months, and lost £5,000 I
invested into OneCoin.

2. Whenl first became involved with OneCoin I was given a copy of
Chris Principe’s magazine featuring OneCoin fonder Ignatova. OneCoin provided
videos which featured Chris Principe endorsing OneCoin, and represented he was a
financial professional Mr. Principe promoted OneCoin, advising that it would be a
great investment and was safe. There were also videos featuring Mr. Principe
speaking on stage, endorsing OneCoin. These helped persuade me to invest in
OneCoin.

3. I initially brought a lot of people into OneCoin, and they made
investments into OneCoin.

4. We were informed that OneCoin had amazing financial education
packages to expand our knowledge, and more importantly, we would receive
tokens when we bought the packages that would go into mining OneCoin’s alleged
cryptocurrency. We were told that the cryptocurrency would be worth millions
when we exchanged them in 2018.

5. Unfortunately, l learned from credible sources that OneCoin was
crooked. The “cryptocurrency” was not a true cryptocurrency, and the education
packages were worthless. This angered me and I went on Facebook Live to let my
people know about my bad experience with OneCoin.

6. I have asked for a refund of my investment from OneCoin, but they

DEChARATION OF WESLEY GARIE%R IN SUPPOR OF%EFENDANT TIM%THY GLEH CERRY’S

OPPOSITION TO PLAINITFF’S MOTION FOR PRELIMINARY INJUNCTION

 

Case 8:17-CV-OO608-.]LS-KES Document 36 Filed 11/13/17 Page 3 of 3 Page |D #:256 '

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7. After I went on Facebook Live, Tirn Curry contacted me. Since that
time Mr. Curry has educated me and others in a group of mine about digital
currency and blockchain technology.

8. I know that Mr. Curry has put at least 2 years of his life in educating
and warning others so that they will not lose their money into the OneCoin scam
like me. His Work is invaluable, as there are a lot of potential victims out there that

may otherwise fall victim to OneCoin’s scam.

I declare under penalty of perjury under the laws of the State of California
that the foregoing is true and correct. Executed London, the United Kingdorn, on

November §§ ,2017.

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Wesley Garner

 

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DECLARATIGN oF wEsLEY GARN’E§ IN SUPPOR 01»‘ DEFENDANT TIMOTHY c.: LEN cuRRY s
opposmoN To PLAlNrrFF’s MorloN ron PRELerNARY mchTroN

 

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